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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - X
                               :
 UNITED STATES OF AMERICA      :        SUPERSEDING INDICTMENT
                               :
           - v. -              :        S2 17 Cr. 548 (PAC)
                               :
 JOSHUA ADAM SCHULTE,          :
                               :
           Defendant.          :
                               :
 - - - - - - - - - - - - - - - X

                            COUNT ONE
       (Illegal Gathering of National Defense Information)

     The Grand Jury charges:

     1.   In or about 2016, in the Eastern District of Virginia

and elsewhere, JOSHUA ADAM SCHULTE, the defendant, for the

purpose of obtaining information respecting the national defense

with intent or reason to believe that the information is to be

used to the injury of the United States, or to the advantage of

any foreign nation, copied, took, made, and obtained, a sketch,

photograph, photographic negative, blueprint, plan, map, model,

instrument, appliance, document, writing, or note connected with

the national defense, to wit, SCHULTE took information (the

“Classified Information”) maintained by an intelligence agency

of the United States (the “U.S. Intelligence Agency”), which

concerned, among other things, the intelligence gathering

capabilities of the U.S. Intelligence Agency and which had been

determined by the United States Government pursuant to an
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Executive Order or statute to require protection against

unauthorized disclosure for reasons of national defense or

foreign relations, for the purpose of providing it to, and

causing it to be provided to, an organization that purports to

publicly disseminate classified, sensitive, and confidential

information (“Organization-1”), which posted the Classified

Information on the Internet.

      (Title 18, United States Code, Sections 793(b) and 2.)

                             COUNT TWO
                (Illegal Transmission of Unlawfully
              Possessed National Defense Information)

      The Grand Jury further charges:

      2.   In or about 2016, in the Eastern District of Virginia

and   elsewhere,   JOSHUA    ADAM   SCHULTE,    the   defendant,     having

unauthorized possession of, access to, and control over records

containing information related to the national defense, which

information the defendant had reason to believe could be used to

the injury of the United States and to the advantage of a foreign

nation, willfully retained the records and failed to deliver it to

the officer or employee of the United States entitled to receive

it, and willfully transmitted the same to a person not entitled to

receive it, to wit, SCHULTE retained a portion of the Classified

Information to which he did not have lawful access and caused it

to be transmitted to Organization-1.

      (Title 18, United States Code, Sections 793(e) and 2.)

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                             COUNT THREE
               (Unauthorized Access to a Computer To
                   Obtain Classified Information)

     The Grand Jury further charges:

     3.   In or about 2016, JOSHUA ADAM SCHULTE, the defendant,

in the Eastern District of Virginia and elsewhere, knowingly

accessed a computer without authorization and exceeded

authorized access and thereby obtained information that has been

determined by the United States Government pursuant to an

Executive order or statute to require protection against

unauthorized disclosure for reasons of national defense or

foreign relations, or any restricted data, as defined in

paragraph y of section 11 of the Atomic Energy Act of 1954, with

reason to believe that such information so obtained could be

used to the injury of the United States or to the advantage of

any foreign nation, willfully communicated, delivered,

transmitted, and caused to be communicated, delivered, or

transmitted, and attempted to communicate, deliver, transmit and

caused to be communicated, delivered, or transmitted the same to

any person not entitled to receive it, and willfully retained

the same and failed to deliver it to the officer or employee of

the United States entitled to receive it, to wit, SCHULTE

exceeded his authorized access on a computer to obtain the

Classified Information and caused the Classified Information to

be transmitted to Organization-1, which posted the Classified

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Information online.

   (Title 18, United States Code, Sections 1030(a)(1) and 2.)

                              COUNT FOUR
                    (Theft of Government Property)

     The Grand Jury further charges:

     4.      In or about 2016, in the Eastern District of Virginia

and elsewhere, JOSHUA ADAM SCHULTE, the defendant, did embezzle,

steal, purloin, and knowingly convert to his use, vouchers,

money and things of value of the United States, which exceeded

the sum of $1,000, and did receive, conceal, and retain the same

with intent to convert it to his own use and gain, knowing it to

have been embezzled, stolen, purloined and converted, to wit,

SCHULTE unlawfully obtained the Classified Information.

          (Title 18, United States Code, Sections 641 and 2.)

                            COUNT FIVE
 (Unauthorized Access of a Computer to Obtain Information from a
            Department or Agency of the United States)

     The Grand Jury further charges:

     5.      In or about 2016, in the Eastern District of Virginia

and elsewhere, JOSHUA ADAM SCHULTE, the defendant, intentionally

accessed a computer without authorization and exceeded

authorized access and thereby obtained information from a

department or agency of the United States, to wit, SCHULTE

accessed a computer without authorization and in excess of his

authorization obtained the Classified Information belonging to


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the U.S. Intelligence Agency.

  (Title 18, United States Code, Sections 1030(a)(2)(B) and 2.)

                            COUNT SIX
      (Causing Transmission of a Harmful Computer Program,
                 Information, Code, or Command)

     The Grand Jury further charges:

     6.   From at least in or about March 2016, up to and

including at least in or about June 2016, in the Eastern

District of Virginia and elsewhere, JOSHUA ADAM SCHULTE, the

defendant, knowingly caused the transmission of a program,

information, code, or command, and as a result of such conduct,

intentionally caused damage without authorization, to a

protected computer, to wit, SCHULTE altered a computer system

operated by the U.S. Intelligence Agency for the purpose of

granting himself access to the system, deleting records of his

activities, and denying others access to the system.

  (Title 18, United States Code, Sections 1030(a)(5)(A) and 2.)

                            COUNT SEVEN
         (Illegal Transmission and Attempted Transmission
      of Unlawfully Possessed National Defense Information)

     The Grand Jury further charges:

     7.   From at least in or about December 2017, up to and

including at least in or about October 2018, in the Southern

District of New York and elsewhere, JOSHUA ADAM SCHULTE, the

defendant, having unauthorized possession of, access to, and

control over records containing information related to the

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national defense, which information the defendant had reason to

believe could be used to the injury of the United States and to

the advantage of a foreign nation, willfully retained the

records and failed to deliver it to the officer or employee of

the United States entitled to receive it, and willfully

communicated, delivered, and transmitted, and attempted to

communicate, deliver, transmit and caused to be communicated,

delivered, and transmitted the same to a person not entitled to

receive it, to wit, SCHULTE retained portions of the Classified

Information and other national defense information maintained by

the U.S. Intelligence Agency to which he did not have lawful

access and caused to be transmitted, transmitted, and attempted

to transmit this information to third parties not entitled to

receive it.

     (Title 18, United States Code, Sections 793(e) and 2.)

                             COUNT EIGHT
                      (Making False Statements)

     The Grand jury further charges:

     8.   From at least in or about March 2017, up to and

including at least in or about November 2017, in the Southern

District of New York and elsewhere, JOSHUA ADAM SCHULTE, the

defendant, in a matter within the jurisdiction of the executive

branch of the government of the United States, knowingly and

willfully falsified, concealed, and covered up by any trick,


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scheme, and device a material fact and made materially false,

fictitious, and fraudulent statements and representations, to

wit, during an interview with, among others, representatives of

the Federal Bureau of Investigation, SCHULTE made

misrepresentations in connection with the criminal conduct

charged in Counts One through Three and Counts Five through

Eight of this Indictment.

           (Title 18, United States Code, Section 1001.)

                             COUNT NINE
                      (Obstruction of Justice)

     The Grand Jury further charges:

     9.    From at least in or about March 2017, up to and

including at least in or about November 2017, in the Southern

District of New York and elsewhere, JOSHUA ADAM SCHULTE, the

defendant, did corruptly obstruct, influence, and impede, and

endeavored to obstruct, influence, and impede the due

administration of justice in a federal grand jury in the

Southern District of New York by making the material false

statements charged in Count Nine of this Indictment.

     (Title 18, United States Code, Section 1503.)

                              COUNT TEN
                         (Contempt of Court)

     The Grand Jury further charges:

     10.   From at least in or about April 2018, up to and

including at least in or about October 2018, in the Southern

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District of New York and elsewhere, JOSHUA ADAM SCHULTE, the

defendant, did willfully and knowingly disobey and resist a

lawful order of a Court of the United States, to wit, an order

issued by the Honorable Paul A. Crotty, United States District

Judge, on or about September 18, 2017, in the Southern District

of New York in the case of United States v. Joshua Adam Schulte,

17 Cr. 548 (PAC), by communicating documents and information to

others in violation of the aforementioned order.

     (Title 18, United States Code, Sections 401(3) and 2.)




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